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     Ronald Richards, Esq. (SBN 176246)
1
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3    Beverly Hills, California 90213
     Tel: (310) 556-1001
4    Fax: (310) 277-3325
5    Ron@RonaldRichards.com

6
                             IN THE UNITED STATES BANKRUPTCY COURT
7
                                    FOR THE DISTRICT OF DELAWARE
8
     In re:                                           Chapter 11
9
                                                      Case No. 17-12560 (KJC)
     WOODBRIDGE GROUP OF COMPANIES,
10
     LLC, et al
11                                                    REQUEST FOR SPECIAL NOTICE AND
                                                      INCLUSION IN MAILING LIST
12

13   TO THE CLERK OF THE BANKRUPTCY COURT AND ALL PARTIES IN INTEREST:
14            PLEASE TAKE NOTICE that Ronald Richards, Esq. hereby requests special notice of all
15   matters that must be noticed to creditors, the creditors’ committee, or other parties in interest,

16   addressed as follows:
                                  Ronald Richards, Esq. (SBN 176246)
17                                      THE LAW OFFICES OF
18                              RONALD RICHARDS & ASSOCIATES, A.P.C.
                                            P. O. Box 11480
19                                  Beverly Hills, California 90213
                                         Tel: (310) 556-1001
20                                       Fax: (310) 277-3325
                                      Ron@RonaldRichards.com
21

22
              This request includes the type of notice referred to in Bankruptcy Rules of Procedure
23
     2002(i) and 3017(a) and also includes, without limitation, all schedules, notices of any order,
24
     applications, complaints, demands, hearings, motions, petitions, pleadings or requests, and any
25
     other documents brought before the Court in this case, whether written or oral, and whether
26
     transmitted or conveyed by mail, electronic mail, personal delivery, telephone, or otherwise.
27

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                                                      1
                   REQUEST FOR SPECIAL NOTICE AND INCLUSION IN MAILING LIST
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1    DATED: December 7, 2017
                                           LAW OFFICES OF
2                                          RONALD RICHARDS & ASSOCIATES, A.P.C.
3

4                                          By: _____________________________________________
                                           RONALD N. RICHARDS, Esq.
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